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                                                                      FILED IN CHAMBERS
                                                                         U.S.D.C. Atlanta

    ORIGINAL                                                             FEB 11 2024
                                                                       Kevin P. Weimer, Clerk
                                                                      BY: o     jDeputy Clerk
                 IN THE UNITED STATES DISTRICT COURT                       rtv
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA

         V.                                   Criminal Indictment

   NNAMDI IHEANACHO                           No   I4   2 4 441frO 0 4 9
THE GRAND JURY CHARGES THAT:

                              Counts One and Two
                          (Wire Fraud - 18 U.S.C. § 1343)
                         (Unemployment Insurance Scheme)
  1. Beginning on an unknown date, but from at least on or about April 30,
2020, and continuing through at least on or about November 23, 2021, the exact
dates being unknown to the Grand Jury, in the Northern District of Georgia and
elsewhere, the Defendant, NNAMDI IHEANACHO, aided and abetted by others
known and unknown to the Grand Jury, knowingly devised and intended to
devise a scheme and artifice to defraud and to obtain money and property by
means of materially false and fraudulent pretenses, representations, promises,
and omissions of material fact, and for the purpose of executing and attempting
to execute such scheme and artifice, did with intent to defraud cause the
transmission by means of wire communication in interstate and foreign
commerce of certain writings, signs, signals, pictures, and sounds.
                                   Background
   At all times relevant to the Indictment:
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   2. The U.S. Department of Labor, Employment and Training Administration

is a federal agency that provides oversight for the Federal-State Unemployment

Insurance Program, which provides unemployment benefits to eligible workers

who are unemployed through no fault of their own as determined under state

law and who meet other state eligibility requirements. Unemployment Insurance

payments, also known as benefits, are intended to provide temporary financial

assistance to eligible workers.

   3. The Employment Security Department of Washington State ("ESD") is the

state agency that oversees the Unemployment Insurance program in the state of

Washington. Through this agency, unemployment benefits may be issued to

Washington residents who are unemployed because of a nationwide pandemic,

such as the COVID-19 pandemic.

   4. In general, a person seeking unemployment benefits through the ESD

must complete an online application that includes, among other things, the

claimant's name, date of birth, social security number, and the reason why the

claimant is unemployed. To be eligible for benefits, the claimant must: (1) have

been recently employed in the state of Washington in the past 12 to 18 months

for a minimum of 680 hours; (2) be currently unemployed; (3) be able and

available to work; and (4) be actively seeking suitable full-time employment.

   5. In Washington, unemployment compensation funds are most often issued

in the form of a direct deposit into the claimant's designated bank account or

prepaid debit card account.




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   6. In response to the COVID-19 pandemic, on March 27, 2020, the President
signed into law the Coronavirus Aid, Relief, and Economic Security ("CARES")
Act. The CARES Act provided emergency financial assistance to millions of
Americans who were suffering from the economic devastation caused by the
COVID-19 pandemic.
   7. The CARES Act created a new temporary federal program called
Pandemic Unemployment Assistance ("PUA") that provided up to 39 weeks of
=employment benefits and funding to states for the administration of the
program. An individual receiving PUA benefits might also have received a $600
weekly benefit in federal funds under the Federal Pandemic Unemployment
Compensation ("FPUC") program if the individual was eligible for such
compensation for the week claimed. The CARES Act also included a provision of
temporary benefits for individuals who had exhausted their entitlement to
regular unemployment benefits, as well as coverage for individuals who were
not eligible for regular benefits, were self-employed, or had limited recent work
history.
   8. The Defendant, NNAMDI IHEANACHO was a citizen of the United States
residing in the metro area in the Northern District of Georgia.
                       The Scheme and Artifice to Defraud
   9. The Defendant, NNAMDI IHEANACHO, used stolen personally identifiable
information ("PII") to cause the filing of false claims for Unemployment
Insurance with ESD. Defendant IHEANACHO received proceeds from these
fraudulent claims through prepaid debit cards.

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  10.Defendant IHEANACHO caused the filing of fraudulent state unemployment
claims via the Internet using stolen PII belonging to Washington residents, who
had not applied for benefits and did not authorize the use of their PII. Based on
the submission of these fraudulent applications, ESD issued payments for
Unemployment Insurance to prepaid debit cards that Defendant IHEANACHO
designated in the applications.
                  Execution of the Scheme and Artifice to Defraud
   11.On or about the dates listed in Column A of the table below, in the
Northern District of Georgia and elsewhere, the Defendant, NNAMDI
IHEANACHO, aided and abetted by others known and unknown to the Grand
Jury, having knowingly devised and intended to devise the aforementioned
scheme and artifice to defraud and to obtain money and property by means of
materially false and fraudulent pretenses, representations, promises, and
omissions, did with intent to defraud cause the transmission by means of wire
communication in interstate and foreign commerce of certain writings, signs,
signals, pictures, and sounds, that is, the transmission of fraudulent
Unemployment Insurance claims to ESD via the Internet in the name of the
individuals whose initials are specified in Column B, resulting in the payment of
unemployment benefits in the amounts identified in Column C, to the prepaid
debit cards listed in Column D, for the purpose of executing and attempting to
execute such scheme and artifice to defraud:




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                  A                B                 C               D
                                                               Prepaid Debit
   Count        Date           Individual       Benefit Paid        Card
                                                               Green Dot Bank
     1       05/07/ 2020          M.B.           $5,704.00      card number
                                                               ending in 2799
                                                               Green Dot Bank
     2       05/08/2020           K.J.           $9,920.00      card number
                                                               ending in 8958

   All in violation of Title 18, United States Code, Section 1343 and Section 2.
                            Counts Three through Five
                           (Wire Fraud - 18 U.S.C. § 1343)
                                 (Tax Fraud Scheme)
  12.Beginning on an unknown date, but from at least on or about April 24,
2020, and continuing through at least on or about April 18, 2023, the exact dates
being unknown to the Grand Jury, in the Northern District of Georgia and
elsewhere, the Defendant, NNAMDI IHEANACHO, aided and abetted by others
known and unknown to the Grand Jury, knowingly devised and intended to
devise a scheme and artifice to defraud and to obtain money and property by
means of materially false and fraudulent pretenses, representations, promises,
and omissions of material fact, and for the purpose of executing and attempting
to execute such scheme and artifice, did with intent to defraud cause the
transmission by means of wire communication in interstate and foreign
commerce of certain writings, signs, signals, pictures, and sounds.
                       The Scheme and Artifice to Defraud
   13.The Defendant, NNAMDI IHEANACHO, used stolen personally identifiable
information ("PII") to cause the filing of false individual tax returns with the
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Internal Revenue Service ("IRS"). Defendant IHEANACHO received proceeds from
these fraudulent claims and returns through prepaid debit cards.
  14.Defendant IHEANACHO caused the filing of fraudulent individual income
tax returns, which claimed entitlement to large tax refunds, with the IRS via the
Internet using stolen PII belonging to individuals. Based on those fraudulent
filings, the IRS issued tax refunds and stimulus payments to prepaid debit cards
that Defendant IHEANACHO designated in the fraudulent returns.
                Execution of the Scheme and Artifice to Defraud
   15.On or about the dates listed in Column A of the table below, in the
Northern District of Georgia and elsewhere, the Defendant, NNAMDI
IHEANACHO, aided and abetted by others known and unknown to the Grand
Jury, having knowingly devised and intended to devise the aforementioned
scheme and artifice to defraud and to obtain money and property by means of
materially false and fraudulent pretenses, representations, promises, and
omissions, did with intent to defraud cause the transmission by means of wire
communication in interstate and foreign commerce of certain writings, signs,
signals, pictures, and sounds, that is, the transmission of fraudulent individual
income tax returns to the IRS via the Internet in the name of the individuals
whose initials are specified in Column B, resulting in the payment of federal tax
refunds in the amount identified in Column C to the prepaid debit card listed in
Column D, for the purpose of executing and attempting to execute such scheme
and artifice to defraud:



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                   A                  B                 C                   D
                                                                     Prepaid Debit
Count            Date            Individual       Refund Paid              Card
                                                                     Green Dot Bank
   3          03/08/2021             D.A.           S8,522.17          card number
                                                                     ending in 6813
                                                                     Green Dot Bank
   4          02/ 05/ 2022           R.T.           S6,406.10          card number
                                                                     ending in 8750
                                                                     Green Dot Bank
   5          02/09/2022             R.C.           $4,890.10          card number
                                                                      ending in 8776
   All in violation of Title 18, United States Code, Section 1343 and Section 2.
                            Counts Six through Ten
               (Aggravated Identity Theft -18 U.S.C. § 1028A(a)(1))
   16.The Grand Jury re-alleges and incorporates by reference the factual
allegations laid out in Paragraphs 2 through 10 and Paragraphs 13 through 14 of
this Indictment as if fully set forth herein.
   17.On or about the dates listed in Column A of the table below, in the
Northern District of Georgia and elsewhere, the Defendant, NNAMDI
IHEANACHO, aided and abetted by others known and unknown to the Grand
Jury, did knowingly transfer, possess, and use, without lawful authority, a
means of identification of another person, that is, the name, social security
number, and date of birth of the persons whose initials are specified in Column
B, during and in relation to the commission of the felony offense of wire fraud in
violation of Title 18, United States Code, Section 1343, as set forth in the
corresponding counts identified in Column C.


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                            A                      B                    C
     Count                Date                 Individual          Felony Count
       6               05/07/2020                 M.B.                  1
       7               05/08/2020                 K.J.                   2
       8               03/08/2021                 D.A.                  3
       9               02/05/2022                 R.T.                   4
      10               02/ 09/ 2022               R.C.                   5
   All in violation of Title 18, United States Code, Section 1028A(a)(1) and
Section 2.
                               Count Eleven
              (Money Laundering Conspiracy -18 U.S.C. § 1956(h))
   18.The Grand Jury re-alleges and incorporates by reference the factual
allegations laid out in Paragraphs 2 through 10 and 13 through 14 of this
Indictment as if fully set forth herein.
   19.Beginning on a date unknown, but from at least on or about May 8, 2020,
and continuing through at least on or about June 30, 2020, in the Northern
District of Georgia and elsewhere, the Defendant, NNAMDI IHEANACHO, did
knowingly combine, conspire, confederate, agree, and have a tacit understanding
with other persons known and unknown to the Grand Jury, to commit an offense
against the United States, namely, to knowingly conduct and attempt to conduct
financial transactions affecting interstate and foreign commerce, which involved
the proceeds of specified unlawful activity, that is, wire fraud, in violation of
Title 18, United States Code, Section 1343, knowing that the transactions were
designed in whole and in part to conceal and disguise the nature, location,
source, ownership, and control of the proceeds of specified unlawful activity,
and while conducting and attempting to conduct the financial transactions,

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knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, in violation of Title 18, United States
Code, Section 1956(a)(1)(B)(i).
                                    Manner and Means
   20.The Defendant, NNAMDI IHEANACHO, and conspirators laundered the
fraudulent proceeds from false claims for Unemployment Insurance that
Defendant IHEANACHO caused to be filed with ESD and false individual tax
returns that Defendant IHEANACHO caused to be filed with the IRS that used
stolen PII for the false filings.
   21.Based on these fraudulent applications, the ESD issued Unemployment
Insurance payments to prepaid debit cards designated in the applications.
   22.Based on the fraudulent tax returns, the IRS issued federal tax refunds to
prepaid debit cards.
   23.Defendant IHEANACHO received these prepaid debit cards that contained
the fraudulent proceeds.
   24.To conceal the fraudulent nature, source, and control of the proceeds of the
Unemployment Insurance and tax fraud schemes, Defendant IHEANACHO
purchased money orders with the fraudulent proceeds that were received on the
prepaid debit cards.
    25.In furtherance of the conspiracy to conceal the fraudulent nature, source,
and control of the proceeds of the Unemployment Insurance and tax fraud
schemes, Defendant IHEANACHO and conspirators set up and opened multiple
business bank accounts for the purpose of receiving funds acquired from

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criminal activity. The business bank accounts set up by Defendant IHEANACHO
and conspirators were for sham companies that did not have physical premises,
earn legitimate income, or pay wages to employees.
   26.Defendant IHEANACHO and conspirators opened JP Morgan Chase Bank,
N.A. ("Chase") bank accounts ending in 5877 and in 8969 in the name of ProJay
Auto Brokers LLC, a company a conspirator incorporated, to receive funds
acquired from criminal activity.
   27.When funds obtained through fraud were received into the Chase
accounts, Defendant IHEANACHO and conspirators depleted those illegally
obtained funds through checks, electronic transfers, point of sale transactions,
and cash withdrawals. By doing so, Defendant IHEANACHO and conspirators
attempted to conceal, and did conceal, the source of the funds Defendant
IHEANACHO obtained illegally through the Unemployment Insurance and tax
fraud schemes.
   All in violation of Title 18, United States Code, Section 1956(h).
                        Counts Twelve through Sixteen
                 (Money Laundering - 18 U.S.C. § 1956(a)(1)(B)(i))
   28. The Grand Jury re-alleges and incorporates by reference the factual
allegations described in Paragraphs 2 through 10, 13 through 14, and 20 through
27 of this Indictment as if fully set forth herein.
   29.On or about the dates listed in Column A of the table below, in the
Northern District of Georgia and elsewhere, the Defendant, NNAMDI
 IHEANACHO, and others known and unknown to the Grand Jury, aided and
 abetted by one another, did knowingly conduct and attempt to conduct financial
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transactions affecting interstate and foreign commerce, that is, the transactions
identified in Column 13 in the bank accounts identified in Column C in the
amounts identified in Column D, which involved the proceeds of specified
unlawful activity, that is, wire fraud, in violation of Title 18, United States Code,
Section 1343, knowing that said transactions were designed in whole and in part
to conceal and disguise the nature, location, source, ownership, and control of
the proceeds of specified unlawful activity, and while conducting and
attempting to conduct such financial transactions, knowing that the property
involved in the financial transactions represented the proceeds of some form of
unlawful activity:
                _
                   A             B                         C                D
   Count          Date   Transaction Type               Account           Amount
                         Deposit of money
                                                     Chase account        $1,000.00
     12       06/06/2020  order ending in            ending in 5877
                               7236
                         Deposit of money
                                                     Chase account
     13       06/11/2020  order ending in                                 $1,000.00
                                                     ending in 8969
                               1307
                         Deposit of money
                                                     NFCU account         $1,000.00
     14       08/02/2021  order ending in            ending in 7543
                               9972
                         Deposit of money
                                                     NFCU account
     15       08/02/2021  order ending in                                 $1,000.00
                                                     ending in 7543
                               3381
                         Deposit of money            NFCU account
     16       09/05/2021  order ending in                                 $1,000.00
                                                     ending in 2962
                                6778
    All in in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i) and
Section 2.

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                                Forfeiture Provision
   30.Upon conviction of one or more of the offenses alleged in Counts One
through Five of this Indictment, the Defendant, NNAMDI IHEANACHO, shall forfeit
to the United States of America, pursuant to Title 18, United States Code, Section
982(a)(2)(A), any property constituting, or derived from, proceeds obtained
directly or indirectly, as a result of said violations, including, but not limited to,
the following:
   (a) MONEY JUDGMENT: A sum of money in United States currency,
      representing the amount of proceeds obtained as a result of the offenses
      alleged in Counts One through Five of this Indictment.
   31. Upon conviction of one or more of the offenses alleged in Counts Eleven
through Sixteen of this Indictment, the Defendant, NNAMDI IHEANACHO, shall
forfeit to the United States of America, pursuant to Title 18, United States Code,
Section 982(a)(1), any property, real or personal, involved in such offenses, or
any property traceable to such property, including, but not limited to, the
following:
   (a) MONEY JUDGMENT: A sum of money in United States currency,
       representing the amount of property obtained as a result of the offenses
       alleged in Counts Eleven through Sixteen of this Indictment.
   32. If, as a result of any act or omission of the Defendant, any property subject
to forfeiture:
       a. cannot be located upon the exercise of due diligence;
       b. has been transferred or sold to, or deposited with, a third party;

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      c. has been placed beyond the jurisdiction of the court;
      d. has been substantially diminished in value; or
      e. has been commingled with other property which cannot be divided
         without difficulty;
the United States of America intends, pursuant to Title 21, United States Code,
Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1),
to seek forfeiture of any other property of the Defendant up to the value of the
forfeitable property.


                                          A                                   BILL



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